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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                          Chapter 11

PetroQuest Energy, Inc., et al.,                Case No. 24-12609 (CTG)

                          Debtors.              (Jointly Administered)

                                                Re: Docket No. 63



                        ORDER SCHEDULING OMNIBUS HEARING DATES

         Pursuant to Del. Bankr. L.R. 2002-1(a), IT IS HEREBY ORDERED that the following

omnibus hearings are scheduled in the above-captioned cases:

                  DATE                              TIME

                  January 7, 2025                   10:00 a.m.

                  January 27, 2025                  10:00 a.m.




                                        CRAIG T. GOLDBLATT
    Dated: November 20th, 2024          UNITED STATES BANKRUPTCY JUDGE
    Wilmington, Delaware




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